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                                                  U.S. Department of Justice

                                                  United States Attorney
                                                  Eastern District of Missouri

                                                  Violent Crime Unit

 SIRENA M. WISSLER                                Thomas Eagleton U.S. Courthouse     OFFICE: 314-539-2200
 Assistant United States Attorney                 111 S. lOth Street, Rm. 20.333
                                                  St. Louis, MO 63102               sirena.wissler@usdoj.gov




                                                                   June 1, 2020

Mr. Gregory J. Linhares
Clerk, United States District Court
111 South Tenth Street
Saint Louis, Missouri 63102

                                    Re:     United States v. Michael J. Avery
                                    Case No. 4:20 MJ 7180 SPM
                                    Lift of Complaint Suppression

Dear Mr. Linhares:

The complaint filed in the above-referenced matter was suppressed. We respectfully request that
the suppression of the complaint be lifted.

Please do not hesitate to contact me if you have any questions or require additional information.



                                                                  Very truly yours,

                                                                  s/Sirena M. Wissler
                                                                  SIRENA M. WISSLER
                                                                  Assistant United States Attorney
